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GEOFFREY S. BERl\/IAN
United States Attorney for the
lSouthern District ofNew York
By: Ll YU

IESSICA JEAN HU
Assistant United States Attorneys
86 Chambers Street, 3i‘d Floor
New Yorl<, New York 10007
Tel: (212) 637-2734/2726

UNITED STATES DISTRICT COUR'I1
SOU'I`HERN I)ISTRICT OF NEW YORK

 

_____________________________________ X
UNITED sTATEs oF AMERICA, er at ; 15 Civ- 5686 (PAC)
ex r'el. RAHil\/H and SCHULTE,
plaintiffs, : CoMPLAIN'r-lN-INTERVENTION
oF THE UNITEI) STATES
V.

WALGREENS BOOTS ALLXANCE, INC.,

Defendant. i
____________________________________ X

The United States, by its attorney, Geoffrey S. Berman, the United States Attorney
for the Southern District ofNeW York, alleges for its complaint-in-intervention as follows:

PRELIMINARY STATEMENT

1. This is a civil fraud action brought by plaintiff-intervenor the Unitecl States of
America (the “Government”) against defendant Waigreens Boots Alliance, lnc. (“Waigreens”) to
recover damages and civil penalties arising from Waigreens’s violations of the False Claims Act
(the “FCA”), 31 U.S.C. § 3729 et seq., in connection With dispensing insulin pens, such as the
Lantus Solostar and Levemir Flextouch brands, to beneficiaries of federal healthcare programs

2. When pharmacies like Walgreens seek reimbursement from federal healthcare
programs for insulin pens dispensed to program beneficiaries, they are required to submit

accurate data concerning, among other things, the days of supply for each prescription

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filled.] ln pharmacy practice, days of supply mean the number of days that the amount of insulin
being dispensed should last if the patient used the insulin strictly according to her prescriber’s
directions for use. Having accurate days-of-supply data is critical to federal healthcare programs
because these programs rely on the days-of-supply data reported by pharmacies like Walgreens
to decide Whether to pay for a refill or to deny a refili claim as premature See infra llil 32-48.

3. From January 2006 until December 20l'7, Walgreens routinely submitted false
insulin pen claims to four federal healthcare programs »»- Medicare, Medicaid, TRICARE, and
the Worl<ers’ compensation program administered by the U.S. Department of Labor (collectively,
the “relevant federal programs”)_. These fraudulent submissions resulted from two practices at
Walgreens in relation to how it dispensed insulin pens to beneficiaries of the relevant federal
programs and sought reimbursement from the programs for these insulin pens.

4. First, Walgreens’s electronic pharmacy management system defined a box of
insulin pens - typically containing five individual pens w as the minimum package size. In other
Words, Walgreens pharmacists were not able to dispense fewer than a full box of insulin pens at a
given time.

5. Second, if dispensing a full box of insulin pens vvould exceed the maximum days of
supply limit for insulin established by payors like Medicaid or Medicare, Walgreens Would
falsely report that the days of supply for the box of pens equaled the applicable limit, instead of
reporting the actual days of supply as calculated according to the standard pharmacy billing

formula, which was higher and Would have resulted in a denial of reimbursement by payors like

 

l A table of the brands of insulin pens relevant to this complaint-in-intervention, along With
their associated national drug codes, is attached hereto as Exhibit A.

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Medicaid."`

6. By engaging in these two practices, Walgreens submitted hundreds of thousands of
false insulin pen claims, Which understated days of supply, to the relevant federal programs See
inj$‘a 111[ 49-»53, 62#69. Further, by under~reporting the days of supply data in insulin pen claims,
Walgreens prevented the automated checks established by the relevant federal programs from
identifying and denying premature refill claims. This, in turn, caused those programs to pay for
more insulin than many beneficiaries actually needed. See infra W 54»~61. Finally, Walgreens’s
routine dispensing of unnecessary insulin pens led to a substantial Waste of valuable medications
and produced the potential for fraud and abuse involving insulin pens. See infra llll 70-79.

JURISDICT{ON AND VENUE

7 ., This Court has subject matterjurisdiction over the Government’s claims under the
FCA pursuant to 23 U.s.e §§ 1331 ana 1345.

8. This Court may exercise personal jurisdiction over Walgreens. Further, because
Walgreens transacts business in this District and, in furtherance of the fraud alleged, submitted
false claims in this District, venue is proper in this District pursuant to 31 U.S.C. § 3732(a) as
Well as 28 U.S.C. §§ l39l(b) and 1391(0).

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9. Plaintiff is the United States ofAmerica. Through its agencies, the Government
administers the relevant federal programs More specifically, the U.S. Department of Health and
Human Services (“HHS”) administers the l\/ledicare and Medicaid programs; the U.S.

Department of Defense (“DOD”) administers the TRICARE program; and the U.S. Department

 

2 For example, if a box of Lantus Solostar pens represented a 75-day supply for a given

Walgreens patient under the standard pharmacy billing formula, but the Medicaid program
denied the claim for a 75 -day supply due to its 30-day supply limit, Walgreens vvould resubmit
that claim for the same box of pens as a BO-day supply.

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of Labor (“DOL") administers workers’ compensation programs for certain federal employees

l{). Defendant Walgreens is an lllinois corporation that operates a nation-wide
pharmacy chain in the United States under the Walgreens brand. During all relevant times,
Walgreens had its principal place of business in Deerfreid, Illinois.

THE FALSE CLAIMS AC'I`

ll. The False Claims Act was originally enacted in 1863 to address fraud on the
Government in the midst of the Civil War, and it reflects Congress’s objective to “enhance the
Government’s ability to recover losses sustained as a result of fraud against the Government.”
See S. Rep. No. 99-345, at l (1986), reprinted in 1986 U.S.C.C.A.N. 5266. '

12. As relevant here, the FCA establishes treble damages liability to the Government
where an individual or entity:

(A) “knowingly presents, or causes to be presented, a false cr fraudulent claim for
payment or approval,” 31 U.S.C. § 3729(a)(1)(A); 01.

(B) “knowingly makes, uses, or causes to be made or used, a false record or
statement material to a false or fraudulent claim, id. § 3729(a)(l)(B).

31 U.S.C. § 3729(a)(l)(A)-(B). In addition to treble damages, the FCA also provides for
assessment of a civil penalty for each violation or each false claim.3

13. c‘l(novving,” within the meaning of the FCA, is defined to include a defendant
acting in reckless disregard or deliberate indifference of the truth or falsity of information, as
Well as actual knowledge of such falsity by defendant See ici § 3729(b)(1)'.

THE RELEVANT FEDERAL Hi_r_AL'rHCARE PRoGRAMs

14. Medicare Part D. Medicare is a federal program that provides federally subsidized

 

3 Under the FCA, as adjusted by applicable federal laws and regulations, civil penalties for
violations occurring between September 29, 1999, and November l, 2015, are $5,500 to
$l l,OOO, see 28 U.S.C. § 2461 (notes); 64 Fed. Reg. 47,099, 47,103 (1999); and civil penalties
for violations occurring after November l, 2015, are $l{),?$l to $21,563, see 82 Fed Reg. 9,131,
9,136 (2017).

 

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health insurance for persons who are 65 or older or are disabled See 42 U.S.C. §§ 1395 et seq.
(“Medicare Program”). As relevant here, Part D of Medicare, which was enacted as part ofthc
l\/lcdicare Prescription Drug, lmprovement, and Modernization Act of 2003, Pub. L. No. lOS~
173, provides prescription drug benefits for Medicare beneficiaries 'All persons enrolled in
l\/Iedicare Parts A or B are eligible to enroll in a prescription drug plan under Part D.

15. Under Medicare Part D, HHS, through its component the Centers for Medicare and
Medicaid Services (“CMS”), contracts with private companies (or c‘Part D sponsors”) to
administer prescription drug plans. The Part D sponsors are regulated and subsidized by Cl\/IS
pursuant to one-year, annually renewable contracts. Part D sponsors, in turn, subcontract with
pharmacies to provide drugs to the Medicare Part D beneficiaries enrolled in their plans.

l6. Generally, after a physician writes a prescription fora Medicare Part D beneficiary,
that patient can take the prescription to a pharmacy, like a Walgreens location, to be filled.
When the pharmacy dispenses drugs to that Part D beneficiary, the pharmacy submits a claim
electronically to the beneficiary’s Part D sponsor (sometiines through a pharmacy benefit
manager, or “PBM”). The pharmacy receives reimbursement from the Part D sponsor (or the
PBM) for the portion of the drug cost not paid by the beneficiary

17. The Part D sponsor then is required to submit to CMS an electronic notification of
the drug dispensing event, called the Prescription Drug Event (“PDE”), which contains data
regarding the prescription claim, including the service provider of the drug, the prescriber of the
drug, the quantity dispensed, the amount paid to the pharmacy, and whether the drug is covered
under Medicare Part D. lEach PDE that is submitted to CMS is a summary record that documents
the final adjudication of a dispensing event based upon claims received from pharmacies and
serves as the request for payment for each individual prescription submitted to Medicare under

the Part D program. Submitting PDE claims data to CMS, which is necessary for CMS to

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administer the Part D program and make payments to Part D sponsors for qualified drug
coverage, is a condition of payment for CMS’s provision of Medicare funds to Part D sponsors
See 42 C.F.R. § 423.322.

18. Under Medicare Part D, CMS gives each Part D sponsor advance monthly
payments consisting of the Part D sponsor’s direct subsidy per enrollee (which is based on a
standardized bid made by the Part D sponsor), estimated reinsurance subsidies for catastrophic
coverage, and estimated low-income Subsidies. See 42 C.F.R. §§ 423.315, 423.329. At the end
of the payment year, CMS then reconciles the advance payments paid to each Part D sponsor
with the actual costs the sponsor has incurred. ln this reconciliation process, CMS uses the PDE
claims data submitted by the Part D sponsor during the prior payment year to calculate the costs
the Part D sponsor has actually incurred for prescriptions filled for Medicare beneficiaries under
Part D. lf CMS determines that it underpaid the sponsor for low-income subsidies or reinsurance
costs, it will make up the difference; and if CMS determines that it overpaid the sponsor, it will
recoup the overpayment from the Part D sponsor.4 The payments made by CMS to the Part D
sponsor come from the Medicare Prescription Drug Account, an account within the Federal
Supplementary l\/ledical insurance Trust Fund. See 42 C.F.R. § 423.3 l S(a).

l9. in order to receive Part D funds from CMS, the Part D Plan sponsors, as well as
their authorized agents, employees, and contractors (including pharmacies), are required to
comply with all applicable federal laws, regulations, and CMS instructions By statute, all
contracts between a Part D sponsor and HHS must include a provision whereby the sponsor

agrees to comply with the applicable requirements and standards of the Part D program as well

 

4 After CMS reconciles a plan’s low-income subsidy and reinsurance costs, it then
determines risk-sharing amounts owed by the plan to CMS or by CMS to the plan related to the
plan’s direct subsidy bid. Risk-sharing amounts involve calculations based on whether and to
what degree a plan’s allowable costs exceeded or fell below a target amount for the plan by
certain threshold percentages. See 42 C.F.R. § 423.336.

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as the terms and conditions of payment governing the Part D program. 42 U.S.C. § l395w-112.
Further, CMS regulations expressly require Part D sponsors to certify, in their contracts with
CMS, that they agree to comply with all federal laws and regulations designed to prevent fraud,
waste, and abuse, including the FCA. See 42 C.F.R. § 423.505(11)(l).

20. Accordingly, all contracts entered into between CMS and Plan D sponsors from
2006 through the present include a provision in which the sponsor “agrees to comply with . . .
federal laws and regulations designed to prevent . . . fraud, waste, and abuse, including, but not
limited to, applicable provisions of F ederal criminal law, the False Claims Act (3l U.S.C. §§
3729, et seq.)[.]” Further, CMS regulations also expressly require that all subcontracts between
Part D sponsors and downstream entities - including pharmacies a contain language obligating
the pharmacies to comply with all applicable federal laws, regulations, and CMS instructions
See 42 C.F.R. § 423.505(i)(4)(iv).

21. Medicaid. Medicaid is a joint federal-state program created in 1965 that provides
health care benefits forlcertain groups, primarily the poor and disabled The federal portion of
each state’s Medicaid payments, known as the Federal Medical Assistance Percentage
(“FMAP”), is based on the state’s per capita income compared to the national average. See 42
U.S.C. § 1396d(b). Among the states, FMAP is at least 50 percent and as high as 83 percent.

22. The Medicaid programs in all 50 states and the District of Columbia reimburse for
prescription drugs. The majority of states award contracts to private companies to evaluate and
process claims for payment on behalf of Medicaid recipients Typically, after processing the
claims, these private companies then generate funding requests to the state Medicaid programs
Before the beginning of each calendar quarter, each state submits to CMS an estimate of its
Medicaid federal funding needs for the quarter. CMS reviews and adjusts the quarterly estimate

as necessary, and determines the amount of federal funding each state will be permitted to draw

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down as it incurs expenditures during the quarter. The state then draws down federal funding as
actual provider claims, including claims from pharmacies seeking payment for drugs, are
presented for payment. After the end of each quarter, the state then submits to CMS a final
expenditure report, which provides the basis for adjustment to the quarterly federal funding
amount (to reconcile the estimated expenditures to actual expenditures). See 42 C.F.R. § 430.30.

23. TRICARE and DOL’s Woi'kers Comp Programs. The Government, through
DOD and DOL, administers the TRlCARE and the workers’ compensation programs for certain
federal employees, respectively More specifically, 'I`RICARE'provides healthcare benefits,
including pharmacy benefits, for certain current and former members of the armed services and
their dependents See 10 U.S.C. § 1071 er seq. To qualify for TRICARE coverage, services,
including pharmacy services, must be medically necessary See 32 C.F.R. § 199.4(a). Similarly,
the workers’ compensation programs administered by DOL provide coverage for pharmacy
services when they are medically necessary.

THE USE, OF INSULIN PENS TO TREAT DIABETES

24. Insulin Therapy. insulin is a peptide hormone secreted by the pancreas that
controls blood sugar levels. Patients with Type 1 and Type 2 diabetes chen need insulin
injections because they cannot generate enough insulin themselves

25. To obtain the types of insulin pens at issue here from pharmacies like Walgreens,
diabetic patients must obtain prescriptions from their physicians When a physician prescribes
insulin to a patient, the physician must provide directions specifying how frequently the patient
should inject insulin and much insulin to inject each time.

26. The directions of use provided by physicians typically indicate the amount of
insulin that patients need to inject in terms cfa certain number of “units” of insulin. For

example, the insulin prescription for a Medicaid beneficiary (“Patient A”), who has Type 2

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diabetes and lives in Bronx County, New York, directs him to “inject 23 units [of Lantus insulin]
subcutaneously every night at bedtime.”

27. When they prescribe insulin, physicians emphasize to their patients the importance
of following the prescribed directions for insulin usage. lt is critical for patients to understand
the importance of following their prescribed insulin regimen because, among other reason,
overusing insulin can exacerbate the risk of hypoglycemia (i'.e. , excessively low blood sugar
level), which can lead to coma and other serious health consequences

28. Insulin Pens. Insulin pens are reusable devices (shaped like pens) that patients can
use to inject themselves periodically with insulin. Each type of insulin pens relevant here
consists of a syringe, which contains insulin solution, inside a hard plastic case.5 These types of
insulin pens are all designed and manufactured to allow diabetic patients to select the amount of
insulin to inject by turning a dial at the end of the pen.

29. Since at least 2000, insulin pens have become a common way for diabetic patients
to receive insulin therapy. During the relevant times, the most popular brands of insulin pens
include Lantus Solostar, Humalog Kwil<pen, Levemir FlexTouch, and Novolog FlexPen.

30. Each of these common brands of insulin pens contains 3 milliliters of insulin
solution. Each milliliter of insulin solution, in turn, contains l00 units of insulin. ln other
words, each individual insulin pen contains 300 units of insulin.

31. For purposes of distributing insulin pens to wholesalers and pharmacies, the insulin
manufacturers package the insulin pens in tamper-evident cartons that, in most cases, contain
five individual pens each. Thus, a full carton of Lantus Solostar, Humalog Kwikpen or Levemir

FlexTouch insulin pens provides 1,500 units of insulin.

 

5 insulin pens cartons do not include the needles that patients use to inject insulin. lnstead,
the needles are sold separately by pharmacies. Further, unlike the insulin pens, the needles for
injecting insulin are nor reusable and are intended to be discarded after each injection

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FEDERAL PRoGRAMs RnLv oN PHARMACia_s Lika WALGREENS To REPoRT ACCURAT§ DAYs-or-
SUPPLY DATA iN ORDER To PRocEss REIMBURSEMENT CLAiMs

A. The Imnortance of Accurate Davs of Supnly Data for Pharmacv Claim Processing

32. To seek reimbursement from payors like Medicare for dispensing medications like
insulin pens to patients covered by the payors, pharmacies like Walgreens are required to submit 1
claims containing a standard set of data that have accepted definitions in the pharmacy billing
context.

33. Payors, or the prescription benefit managers (“PBl\/ls”) acting on their behalf, rely
on the accuracy of the claims data submitted by pharmacies to make reimbursements _decisions.

34. Among the types of claims data that Walgreens must submit to payors to obtain
reimbursement for insulin pens are the “quantity dispensed” and the “days of supply” fields. in
the pharmacy billing context, “quantity dispensed” means the total amount of insulin dispensed
to a patient when she fills her prescription; and “days of supply” mean the number of days that
the quantity of insulin dispensed will last if the patient uses the insulin strictly according to the
directions for use provided by her insulin prescriber.

35. Phai'macies follow a standard formula to calculate days of supply. Specifically, a
pharmacist divides the total quantity of medication being dispensed to a particular patient by that
patient’s “daily dose,” i'.e. , the specific quantity of medication that the prescription directs the
patient to take each day. Further, at the times relevant here, Walgreens’s internal procedures
recognized this formula as the standard for pharmacy billing purposes F or example, a 20l4

Walgreens policy instructed its pharmacy staff to use this formula to calculate days of supply:

 

36. To illustrate -»- the daily dose of insulin for Patient A (the Medicaid beneficiary
living in the Bronx, see supra il 26) is 23 units of insulin because Patient A’s insulin prescription

directed him to “inject 23 units [of Lantus insulin] subcutaneously every night at bedtime.”

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Thus, according to the formula, When Walgreens dispensed a box of Lantus insulin pens
containing 1,500 units of insulin to patient A in October 20l4, the days-of~supply for this till Was
65 days (i.e., 1,500 units of insulin divided by 23 units of insulin per day = 65 days).

37. Bxecutives and managers at Waigreens understood how important it was for
Walgreens to accurately report days-of-supply data to payors. For example, a 2016 internal
policy advised pharmacy employees at Walgreens that “ensuring an accurate [days of supply] is
entered correctly is important Jfor both third party billing and customer service reasons.”

38. Payors and PBMS also regularly emphasize the importance of the requirement for
pharmacies to accurately report the days-of-supply data in the claims they submit for
reimbursement For example, the pharmacy manual issued in 2008 by WHI Health Initiatives ~
a PBl\/I controlled by Walgreens until 2010 ~ instructed participating pharmacies that the days~
of~supply data they submitted “must be legible, accurate, and complete.”

39. A key reason that payors and PBMs require pharmacies to report accurate days~of-
supply data is that payors and PBMs typically rely on this data to decide Whether to reimburse
reiill claims or to deny such claims as premature Specitically, payors and PBMs typically
calculate the date on Which a prescription relill Would be needed (the “reiill due date”) based on
the date When a patient last filled a prescription and the days of supply reported by the pharmacy
for that prior till. Payors and PBMS also typically have automated processes that deny as
premature reiill claims too far in advance of the reiill due dates.

B. The Relevant Federal Programs Required Pharmacies to Renort Davs-of~Supplv
Data Accurately in Their Reimbursement Claims

40. During the relevant times, Medicare Part D, Medicaid, TRlCARE, and DOL’s
workers’ compensation programs all required participating pharmacies like Walgreens to report
accurate days-of-supply data accurately in the claims they submitted to these programs for

reimbursement

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41. Medicare Part D: Under Medicare Part D, for example, CMS regulations have
required Part l_`) sponsors to certify to the accuracy, completeness and truthfulness of the PDE
claims data submitted to CMS. Specifrcally, the relevant regulatory provision, entitled
“Certiflcation of data that determine payment,” has provided in relevant part:

(l) General rule. As a condition for receiving a monthly payment under
subpart G of this part (or for fallback entities, payment under subpart Q of this
part), the Part D plan sponsor agrees that its chief executive officer (CEO),
chief financial officer (CFO), or an individual delegated the authority to sign
on behalf of one of these officers, and Who reports directly to the officer, must
request payment under the contract on a document that certifies (based on best
lmovvledge, information, and belief) the accur'acy, completeness, and
truthfulness of all data related to payment The data may include specified
enrollment information, claims data, bid submission data, and other data that

CMS specifies

(3) Certifrcation of claims data. The CEO, CFO, or an individual delegated
with the authority to sign on behalf of one of these officers, and vvho reports
directly to the officer, must certify (based on best knowledge, information,
and belief) that the claims data it submits under § 423.329(b)(3) (or for
fallback entities, under § 423.871(@) are accurate, complete, and truthful and
acknowledge that the claims data vvill be used for the purpose of obtaining
Federal reimbursement . . .

42 C.F.R. § 423.505(k). Compliance vvith the regulatory requirement that PDE data submitted to
CMS is “true, accurate, and complete” is a condition of payment under Medicare Part D.

42. ln accordance with this regulatory requirement, and since the Part D program
began, CMS has required each Part D sponsor to sign annually an Attestation of Data Relating to
CMS Payment to a Medicare Part D Sponsor (“Attestation”), Which states:

Pursuant to the contract(s) between the [CMS) and the Medicare Part D
Organization(s) listed above, hereafter referred to as the Part D Or‘ganization,
governing the operation of the contract numbers listed above, the Part D
Organization hereby makes the following attestations concerning CMS
payments to the Part D Organization:

The Part D Organization attests that based on its best knowledge, information,
and belief, the final Prescription Drug Event (PDE) data that have been
submitted to and accepted by CMS as of ldate] with respect to the Part D

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plans offered under the above-stated contract(s) for the dates of service of
January l, [prior year] to Decernber 3l, [prior year], are accurate, complete,
and truthful and reflect all retroactive adjustments of Which the Part D
organization has been informed by May 30, [current year]. In addition, the
Part D Organization attests that based on best knowledge, information, and
belief, the payments that have been made by the Part D organization for the
claims summarized by the aforementioned PDE data Were made in accordance
with the coordination of benefits guidance in Chapter l4 of the Medicare
Prescription Drug Benefit Manual and other applicable CMS guidancel The
Part D Organization attests that based on its best knowledge, information, and
belief as of the date(s) of last successful DlR [Direct and indirect
Remuneration Data] {prior year] data submission(s) via the Health Plan
Management System (HPMS) as listed above, the final direct and indirect
remuneration data submitted to CMS for the Part D plans offered under the
above-stated contract(s) for the [prior] coverage year are accurate, complete,
and truthful and fully conform to the requirements in the Medicare Part D
program regulations and the Final Medicare Part D DIR Reporting
Requirements for [the prior year]. The Part D lOrganization also certifies that
based on its best knowledge, information, and belief as of the date indicated
below, all other required information provided to CMS to support the
determination of allowable reinsurance and risk corridor costs for the Part D
plans offered under the above-stated eontract(s) is accurate, complete, and
truthful With regards to the information described in the above paragraphs,
the Part D Organization attests that it has required all entities, contractors, or
subcontractors, which have generated or submitted said information (PDE and
DlR data) on the Part D Organization’s behalf, to certify that this information
is accurate, complete, and truthful based on its best knowledge, information,
and belief. ln addition, the Part D Organization attests that it vvill maintain
records and documentation supporting said information The Part D
Organization acknowledges that the information described in the above
paragraphs will be used for the purposes of obtaining federal reimbursement
and that misrepresentations or omissions in information provided to CMS may
result in Federal civil action and/or criminal prosecution

All` approved Part D sponsors who received payment under Medicare Part D after 2006
submitted these required Attestations in the same or similar format

43. For pharmacies like Walgreens that participate in Medicare Part D, CMS
regulations further provide: “lf the claims data are generated by a related entity, contractor, or

subcontractor of a Part D plan sponsor, the entity, contractor, or subcontractor must similarly

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certify (based on best knowledge, information, and belief) the accuracy, completeness, and
truthfulness of the data and acknowledge that the claims data will be used for the purposes of
obtaining Federal reimbursement.” 42 C.F.R. § 423.505(1<)(3).

44. The pharmacy manuals and other published guidance issued PBMS that adjudicate
pharmacy claims for Medicare Part D plans also have consistently indicated that PBl\/Is rely on
the days of supply submitted by the participating pharmacies to determine whether the PBMs
would pay or deny claims. Finally, the Medicare Part D PBMs also conduct audits of pharmacy
claims on an ongoing basis, and the accuracy of days of supply reporting has typically been one
of the essential components of such audits. v

45. Medicaid. Similarly, pharmacies like Walgreens that participate in Medicaid have
typically been required to sign enrollment agreements with their states Medicaid programs
certifying compliance with the state and federal Medicaid requirements, including the
requirement to submit accurate claims data. In New York, for cxample, pharmacies have been
required to periodically sign a “Certifrcation Statement for Provider Billing Medicaid," in which
they certify that “ALL STATEMENTS, DATA AND INPORl\/IATION TRANSMITTED ARB
TRUE, ACCURATE AND COMPLETE TO TI-IE BEST OF MY KNOWLEDGE” and that “NO
MATER[AL FACT HAS BEEN OMlTTED[.]” (capitalization in original).

46. Like CMS in the Medicare Part D context, state Medicaid programs also have
issued guidance to pharmacies like Walgreens explaining that Medicaid relies on the accuracy of
the days-of-supply data submitted by pharmacies to decide whether to pay or deny reflll claims.
ln 2008, for example, New York Medicaid issued an update notifying pharmacies that an “early
refill edit will be implemented {to] deny drug claims when less than 75% of the previously

dispensed amount, based on previously dispensed supply, has been used.” That update further

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explained that the “claim denial message will ... specify the date that is the earliest the [refill]
claim will be accepted for payment.”

47. Further, like Medicare Part D PBl\/ls, state Medicaid programs ~ or PBl\/Is acting on
their behalf - have regularly audited claims submitted by participating pharmacies to determine
whether they accurately reported days-of-supply data.

48. Finally, TRlCARE and the workers’ compensation programs administered by DOL
have similar requirements for participating pharmacies to submit claims that accurately report the
days of supply for the quantities of medication being dispensed See, e.g., TRICARE Standard
Handbook, at 20.

WALGREENS SYSTEMATICALLY UNDE_R-REPoRTED THE DAYs oF SUPPLY ron INsULIN PE_Ns 1N
CLAIMS SUBMITTED To THE RELEVANT FEI)ERAL PROGRAMS

A. Walgreens’s Dispeg_rsing Practices for Insulin Pens Resulted in the Submission of
False Clgi_r_n_s and Under-reporting of Davs-of-Sunplv Data to Federal Prograrns

49. From January 2006 until December 2016, Walgreens routinely submitted to the
relevant federal programs false insulin pen claims that understated the days-of-supply for the
insulin pens dispensed These fraudulent submissions were the result of two practices in relation
to how Walgreens dispensed insulin pens and billed the federal programs for these pens.

50. Fr.`rst, Walgreens configured its pharmacy management program - Intercom Plus -
to designate a full box of insulin pens, instead of individual pens, as the “minimum quantity.” In
practice, this meant that pharmacists at Walgreens could not dispense individual insulin pens,
even when a patient needed less than a full box -- for example, a Walgreens pharmacist noted in
an lntercomrPlus entry in May 2015 that “[ano]ther pharmacy was dispensing 2 pens, we can
only dispense in box of 5 pens,” so the patient “loses 9 ml [r`.e., three pens worth of insulin].”

Sl. Secona', because it often takes patients several months to use up a full box of insulin

pens, and because payors like Medicare Part D plans and Medicaid often limit the maximum

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days of supply for each fill to 30 days, Walgreens’s full-box-only insulin pen dispensing practice
frequently resulted in its insulin pen claims being denied by the payors because the days of
supply exceeded the payors’ limits. When this occurredJ the practice at Walgreens was not to
seek permission for an extended days of supply from the payor or to reduce the quantity of
insulin being dispensed Instead, pharmacists at Walgreens were trained to resubmit the claim
for the same quantity of insulin, but to falsely under-report the days of supply to make it match
the payor’s limitation so that the claims would be paid.6

52. ln New York, for example, certain Medicaid plans limit the days of supply for each
fill of insulin to 30 days. Thus, even though a full box of Lantus insulin pens represented a 65-
day supply for Patient A (the Medicaid beneficiary in the Bronx with a prescription to inject 23
units of Lantus insulin each night, see super 36), Walgreens repeatedly submitted claims to
Patient A’s Medicaid plan falsely reporting these boxes of Lantus pens as 30-day suppliesl

53. Further, during the relevant times, Walgreens configured its electronic pharmacy
management system a lntercom Plus - to record and then automatically reuse the days of supply
reported for the initial fill for a prescription for all subsequent refills. In practice, this meant that
whenever Walgreens under-reported the days of supply for the initial fill of an insulin pen
prescription, it would continue to falsely under-report the days of supply for all the subsequent
refills for that prescription

B. Falselv Under-Reporting Davs-of-SuDDlv Dgta for Insulin Pens Al_s_o Resulted in
Walgreens Dispensing Premature Refills to Federal Program Beneflciaries

54. Beyond submitting individual false claims, the practice of under-reporting days of

supply for insulin pens also led Walgreens to dispense, and bill the relevant federal programs for,

 

6 The payor would not be aware that the resubmitted days of supply data Walgreens was in
fact inaccurate because pharmacies do not provide the daily dose or the directions of use
information to payors as part of pharmacy billing.

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premature refills to program beneficiaries r“l`here were two main causes for this result.

55. Firsr, during the relevant times, the pharmacy management system used by
Walgreens ~ Intercom Plus 4 relied on the reported days-of-supply data to track when Walgreens
should send out refill reminders to patients. ln practice, this meant that, whenever Walgreens
falsely under-reported the days-of-supply data for a given prescription, lntercom Plus also sent
out refill reminders to that patient prematurely

56. ln Patient A’s case, for example, because Walgreens under-reported the days cf
supply for the boxes of Lantus insulin pens it dispensed to this patient, see supra ll 52, Patient A
repeatedly received refill reminders from Walgreens every 30 days, instead of every 65 days as
he should have if Walgreens had accurate reported the days of supply.

57. Second, under-reporting days of supply also obstructed the federal programs’ ability
to identify and deny premature refills because their tracking procedures - such as New York
Medicaid’s “early refill edit” procedure, see supra 1{ 47 - rely on the accuracy of days-of-supply
data reported by Walgreens.

58. To illustrate, consider how Walgreens dispensed two boxes of Lantus insulin pens
to Patient A on September 13 and October 10, 20l4. lf Walgreens had accurately reported to
New York Medicaid that each box of Lantus pens represented a 65-day supply for Patient A,
then Medicaid’s “early refill edit” would have denied the October 10 refill claim as premature
Specifically, because Patient A had received a full box of Lantus pens on September 13, the
c‘early refill edit” would have calculated that Patient A should not have used up 75% of that box
by October 10. However, because Walgreens falsely under-reported the box of Lantus pens for
Patient A as a 330-day supply, the “early refill edit” did not identify or deny the October 10, 20l4

refill claim as premature lnstead, Medicaid was misled to approve and pay that refill claim.

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59. Nor were the premature refills for Patient A limited to just October 20l4. During
the 3l/z-rnonth period between August and November 2014, Walgreens dispensed four boxes of
Lantus insulin pens to Patient A. The 20 Lantus pens in those boxes in fact represented an 8-
month supply of insulin for this patient

60. Similarly, in January, February, and'March 2017, Walgreens dispensed three boxes
of Levemir Flextouch pens each time to a Medicaid beneficiary in Waycross, Georgia (“Patient
B”), even though Patient B’s insulin prescription directed her to “inject 20 units of twice daily”
(i.e., 40 units total per day). Instead of reporting each fill of three boxes as a 112-day supply
(i.e., 4,500 units/40 units per day) for Patient B, Walgreens reported each as a 30-day supply.
This, in turn, resulted in Walgreens dispensing nine full boxes of Levemir pens to Patient B in
the span of three months, whereas these 45 Levemir pens represented almost a full year’s supply
for Patient B.

6l. In short, the impact of Walgreens’s practice of falsely under-reporting days-of-
supply data for insulin pens was not limited to individual false claims or isolated instances of
premature refills. To the contrary, these fraudulent submissions resulted in widespread and
repeated premature refills for thousands upon thousands of federal program beneficiaries like
Patient A and Patient B.7

C. __\“_’\_r_'_z_llgreens Kr_rew That Its Plrarmacies Were Falselv Ugder-Reporting the Davs of
Supplv for Insulin Pep_s_z_md Tl_}at lt Was Causing Prematgre Refill§

62. As noted above, see supra 11142~44, PBMs that adjudicate claims for Medicare Part
D plans and Medicaid programs have issued guidance to emphasize the need for pharmacies to

report days-of-supply data accurately in their reimbursement claims.

 

7 in addition to impeding the ability of the federal programs’ tracking procedures to deny
premature refill claims, Walgr‘eens’s insulin pen dispensing and billing practices also prevented
its own pharmacists from getting “refrll too soon” warnings within Walgreens’s own pharmacy
system and advising patients to wait and get refills at appropriate intervals `

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63. In 2012, for example, a national PBM (“PBM l”) updated its pharmacy manual to
instruct pharmacies participating in Medicare Part D that if that PBM 1 rejected a claim for
exceeding the maximum days-of-supply limit, then the pharmacy may call PBl\/I l “to request an
override.” The manual further provided that “[a]ny claims resubmitted must be entered with the
accurate quantity and days supply,” and that the pharmacy “maintains responsibility to adhere to
appropriate refill intervals.”

64. PBMS also have regularly audited the claims submitted by pharmacies. During the
relevant period, audit findings from multiple PBMs provided ample notice to Walgreens that it
not only was regularly under»reporting the days of supply for insulin pens, but also that this
practice frequently led to repeated premature refills on the same insulin pen prescriptionsl

65. For example, in June 2014, Walgreens received a notice of audit findings from a
national PBM (“PBM 2”) seeking refunds for multiple claims in which a Walgreens pharmacy
located in Iowa had reported “incorrect days [of] supply” for Lantus insulin pens and, thereby,
causing refills to be dispensed prematurely

66. In September 2014, PBM 2 issued another notice of audit findings concerning a
premature refill of Novolog pens by a Walgreens pharmacy located in Minnesota.

67. Similarly, in October 2014, Walgreens received a notice of audit findings from
PBM 2 seeking refunds for 10 instances Where a Walgreens pharmacy located in Wisconsin had
reported incorrect days-of-supply data for Hurnalog, Novolog, Lantus, and Levemir brands of
insulin pens and dispensed premature refills of those types of insulin pens to patients

68. The audit findings based on the under-reporting of days~of-supply data and
premature refills of insulin pens at Walgreens were not limited just to PBM 2. In December

2014, for example, Walgreens received a set of audit results from PBM l that sought refunds for,

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among other things a premature refill of the Novolog brand of insulin pens to a patient by a
Walgreens pharmacy located in Florida.

69. Likewise, throughout 2015, Walgreens received a series of audit reports from a
Midwest regional PBM that sought refunds because Walgreens had under-reported the days of
supply for numerous insulin pen prescriptions and, in many cases, dispensed premature refills.

D. Walgreens’s Submission of False lnsulin Pei} Claim_s and Disnensing of Premature
Refills Led to Waste and Created the Potential for Other Fraud and Abuse

70. To participate in federal programs like Medicare Part D and Medicaid, Walgreens
has been required to implement training for its pharmacy employees on their obligations to
recognize and avoid fraud, waste, and abuse when they dispense medications to federal program
beneficiaries

71. As part of the waste, fraud, and abuse training at Walgreens, pharmacists learned
that examples of waste include instances where a pharmacy repeatedly dispenses premature
refills to a patient and causes the patient to have to discard the unnecessary medications Yet,
during the relevant times the practice at Walgreens to regularly under-report the days of supply
for insulin pens led to many such instances of waste involving insulin pens

72. For example, in the case of a Medicaid beneficiary with Type 2 diabetes living in
Brooklyn (“Patient C”), Walgreens repeatedly under~reported the days of supply for Humalog
and Lantus insulin pens it dispensed to this patient between 20l4 and 2017. This, in turn, led to
Patient C receiving automated refill reminder calls from Walgreens for the all the types of
medications she used.

73. When Patient C or her children went to pick up the refills, Walgreens placed boxes
of Humalog and Lantus pens ~ which the patient did not need because she had not used up her 7
previous insulin pen fills - in the same bag along with Patient C’s other medications Over time,

Patient C accumulated a number of unused boxes of Lantus and Humalog insulin pens So

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Patient C eventually discarded those unused boxes of insulin pens _ which cost approximately
3400 per box - by taking them to a medication disposal site.

74. Another Medicaid beneficiary (“Patient i)”), who lives in the Bronx and filled her
insulin pen prescriptions at a Walgreens location until early 20l7', had a very similar experiencel

75. Patient D’s doctor initially prescribed 10 units of Lantus insulin per day for her in
20l4 and increased it to 20 units per day in 2015. The Walgreens location, however, repeatedly
dispensed full boxes of Lantus insulin pens to Patient D, falsely reported these as 30~day
supplies and also sent her monthly refill reminders

76. Because Patient D typically had extra Lantus pens left over from her prior fills
when Walgreen refilled her Lantus pen prescriptions she regularly threw away the leftover
Lantus pens, which cost approximately $100 each.

77. Beyond sheer waste, Walgreens’s practice of routinely reporting false days~of~
supply data for insulin pens also created the potential for other fraud or abuse.

78. According to Walgreens’s own training, it is a type fraud or abuse for patients to
resell prescription medications using online platforms like Craig’s List or eBay. Yet, during the
relevant times, there frequently were postings on these online platforms for the resale of insulin
pens individually or in full boxes In a number of cases, the postings contained photographs of
boxes of insulin pens that still had labels showing that they had been dispensed by Walgreens

79. ln short, by under-reporting the days of supply, Walgreens not only submitted false
claims relating to thousands upon thousands of federal program beneficiaries but also caused
waste and created the potential for other fraud and abuse involving insulin pens.

FIRST CLAIM
Violations of the False Claims Act: Presenting_False Claims for Pavme_r_r§

(31 .S.C. 8 37Y(a)(1) (2€]00), and, as amended, 31 U.S.C. 5 3729(§i(1}(A) (Supp. 2009))

80. The Government incorporates by reference paragraphs l through 79 above as if

fully set forth in this paragraph

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81. The Government asserts claims against Walgreens under Section 3729(a)(l) of the
FCA, 31 U.S.C. § 3729(a)(1) (2000), and, as amended, 31 U.S.C. § 3729(a)(1)(A).

82. As a result of its improper dispensing practices in connection with the sale of
insulin pens to beneficiaries of the relevant federal programs Walgreens knowingly presented, or
caused to be presented, false or fraudulent claims for payment or approval in violation of 3l
U.S.C. § 3729(a)(1) (2000), and, as amended, 31 U.S.C. § 3729(a)(l)(A).

83. By reason of the false or fraudulent insulin pen claims that Walgreens knowingly
presented, or caused to be presented, for payment or approval, the Government has been
damaged in a substantial amount to be determined at trial, and is entitled to recover treble
damages plus a civil monetary penalty for each false claim.

SECOND CLAIM
Violations of the False Claims Act: Use of False Statements

(31 U.S.C. § 3729(3){21 §2.000) and, as amended. 31 U.S.C. 5 3729{a)(1)(B) (Si_lpp. 2009)}

84. The Government incorporates by reference paragraphs l through 79 above as if
fully set forth in this paragraphl

85. The Government asserts claims against Walgreens under Section 3729(a)(2) of the
FCA, 31 U.S.C. § 3729(a)(2) and, as amended, 3l U.S.C. § 3729(a)(1)(B) (Supp. 2009).

86. As a result of its improper dispensing practices in connection with the sale of
insulin pens to beneficiaries of the relevant federal programs Walgreens made, used, or caused
to be made or used, false records or statements that were material to getting false or fraudulent
claims paid by the relevant federal programs

87. By reason of` these false records or statements the Government has been damaged
in a substantial amount to be determined at trial and is entitled to recover treble damages plus a

civil monetary penalty for each false record or statement

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PRAYER FOR RELIEF

WHEREFORE, plaintiff, the Govemment, requests that judgment be entered in its

favor as follows:

(a) on the First and Second Claims for relief (violations of the FCA, 3l U.S.C. §§

3729(a)(l) and 3729(a)(2) and, as amended, 31 U.S.C. §§ 3729(a)(l)(A) and

3729(a)(l)(B)), ajudgment against Walgreens for treble the Government’s damages,

in an amount to be determined at trial, plus a civil penalty in the maximum applicable

amount for each violation of the FCA by Walgreens;

(b) an award of costs incurred by the Government against Walgreens pursuant to 31

U.s.c. § 3729(3)(3);3;1¢1

(c) such further relief as is proper.

Dated: New York, New York
January 10, 2019

GEOFFREY S. BERl\/IAN
United States Attorney

/s/Li Yu
LI YU
JESSICA IEAN HU
Assistant United States Attorneys
United States Attorney’s Office, Civil Division
86 Chambers Street, 3rct Floor
New York, NY 10007
Tel: (212) 637-2734/2726
Email: li.yu@usdoj.gov
jessica.hu@usdoj.gov
Attorneysfor the Governmenr

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Exhibit A

Insulin Pen Brands Relevant to the Complaint-in~lntervention

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Brand Narne National Drug Code
APIDRA 00088250205
HUMALOG 00002771227
HUMALOG 00002879759
HUMALOG 00002879859
HUMALOG 00002879959
HUMALOG 00002751659
l-IUMALOG 00002872559
HUMALOG 00002879459
HUMULIN 00002880359
I»IUMUL[N 00002882427
HUMULIN 00002880559
LANTUS 00088221905
LANTUS 00088222052
LANTUS 00088222060
LEVEMIR 00169643910
LEvEMiR 00169643310
NOVOLOG 00169369619
NOVOLOG 00169633910
NOVOLOG 00169330312
TOUJEO 00024586903
TRESIBA 001692550]3
TRESIBA 00169266015

 

 

 

